1:22-cv-03216-SAL   Date Filed 09/21/22   Entry Number 1-1   Page 1 of 8




                          EXHIBIT A
  1:22-cv-03216-SAL          Date Filed 09/21/22   Entry Number 1-1     Page 2 of 8




                                                                                                ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
STATE OF SOUTH CAROLINA                     )      IN THE COURT OF COMMON PLEAS
                                            )
COUNTY OF AIKEN                             )      Civil Action No. ___________________

Dareus Stevons and TEC’s Trucking, LLC, )
                                            )
       Plaintiffs,                          )
                                            )
vs.                                         )            Summons
                                            )
Love’s Travel Stops & Country Stores, Inc., )
Love’s Truck Solutions, LLC, and Love’s )
Solutions, LLC d/b/a Love’s Travel Stops )
and d/b/a Love’s Tire Care,                 )
                                            )
       Defendants.                          )
____________________________________)

TO:    DEFENDANTS AND THEIR COUNSEL

YOU ARE HEREBY SUMMONED and required to answer the Complaint herein, a copy of

which is herewith served upon you, and to serve a copy of your Answer to said Complaint upon

the subscriber, at 2236 Ashley Crossing Drive, Charleston, SC 29414, within thirty (30) days

after the service hereof, exclusive of the day of service, and if you fail to answer the said

Complaint within the time aforesaid, the Plaintiffs will apply to the Court for the relief

demanded in the Complaint, and judgment by default may be entered against you.

                                                   THE BOSTIC LAW GROUP, P.A.

                                                   ___/s Christopher M. Ramsey_________
                                                   Christopher M. Ramsey
                                                   2236 Ashley Crossing Drive
                                                   Charleston, SC 29414
                                                   (843) 571-2525
                                                   Fax: (843) 571-7050
                                                   cramsey@bosticlaw.com
                                                   Attorneys for Plaintiff

May 22, 2022

Charleston, South Carolina
  1:22-cv-03216-SAL       Date Filed 09/21/22      Entry Number 1-1         Page 3 of 8




                                                                                                ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
STATE OF SOUTH CAROLINA                     )       IN THE COURT OF COMMON PLEAS
                                            )
COUNTY OF AIKEN                             )       Civil Action No. ___________________

Dareus Stevons and TEC’s Trucking, LLC, )
                                            )
       Plaintiffs,                          )
                                            )
vs.                                         )              Complaint
                                            )        (Jury Trial Demanded)
Love’s Travel Stops & Country Stores, Inc., )
Love’s Truck Solutions, LLC, and Love’s )
Solutions, LLC d/b/a Love’s Travel Stops )
and d/b/a Love’s Tire Care,                 )
                                            )
       Defendants.                          )
____________________________________)

       NOW COME Dareus Stevons and TEC’s Trucking, LLC, Plaintiffs in the above-

captioned action, and submit their Complaint against the Defendants as follows:

                       Identity of Parties and Jurisdictional Allegations

   1. At the time of the accident complained of, Dareus Stevons was a resident of Durham

       County, North Carolina.

   2. TEC’s Trucking, LLC (TEC’s) is a North Carolina limited liability company which

       regularly does business in South Carolina, with its principal place of business at 222

       Southerland Street in Durham, NC.

   3. Love’s Travel Stops & Country Stores, Inc. is an Oklahoma corporation which regularly

       does business in South Carolina, and which may be served with process in this action

       through its registered agent, CT Corporation System, 2 Office Park Court, Suite 103,

       Columbia, SC 29223.

   4. Love’s Truck Solutions, LLC is an Oklahoma limited liability company which regularly

       does business in South Carolina, and which may be served with process in this action
1:22-cv-03216-SAL        Date Filed 09/21/22      Entry Number 1-1         Page 4 of 8




                                                                                                 ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
    through its registered agent, CT Corporation System, 2 Office Park Court, Suite 103,

    Columbia, SC 29223.

 5. Love’s Solutions, LLC is an Oklahoma limited liability company which regularly does

    business in South Carolina, and which may be served with process in this action through

    its registered agent, CT Corporation System, 2 Office Park Court, Suite 103, Columbia,

    SC 29223.

 6. The aforementioned Love’s entities also regularly do business under the trade names

    “Love’s Travel Stops” and “Love’s Tire Care.”

 7. Defendants are collectively referred to herein as “Love’s.”

 8. Love’s owns and operates approximately 500 truck stops and travel centers in 41

    different states.

 9. As part of its business, Love’s also manufactures, refurbishes, and sells tires to the

    public.

 10. This is an action for negligence, gross negligence, recklessness, products liability, and

    breach of warranty regarding a failed tire product and a resulting motor vehicle accident

    which occurred in Aiken County.

 11. This Court has jurisdiction over the parties and subject matter of this action.

 12. Venue is proper in this Court.

                                Facts Common to All Counts

 13. On the day prior to the accident at issue, TEC’s purchased three re-treaded tires from

    Love’s which Love’s installed on TEC’s truck.

 14. Dareus Stevons, a driver for TEC’s, drove the truck with its cargo the following day.
1:22-cv-03216-SAL        Date Filed 09/21/22       Entry Number 1-1        Page 5 of 8




                                                                                                  ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
 15. At approximately 8:03 p.m. on May 22, 2019, Dareus Stevons was lawfully operating

    the truck in North Augusta, SC on Interstate 520 westbound.

 16. As Mr. Stevons exited onto the I-520 connector off-ramp, one of the Love’s tires failed

    and the tread separated from the casing, causing the truck to overturn.

 17. As a direct and proximate result of the truck overturning, Mr. Stevons sustained physical

    injuries, the truck was damaged, and the cargo in the truck was damaged.

 18. Upon information and belief, Love’s had taken an existing tire casing and placed a new

    tread on it.

 19. Love’s failed to correctly bond the tread to the casing, which caused the tread to come

    off the casing and for the tire to fail when it was placed under normal driving conditions.

                         FOR A FIRST CAUSE OF ACTION
                      (Negligence/Gross Negligence/Recklessness)

 20. All preceding allegations are realleged as if fully repeated verbatim herein.

 21. Love’s owed a duty to use ordinary care in the manufacture and sale of its tires.

 22. Love’s breached its duty of care and was negligent, reckless, willful, wanton, careless

    and grossly negligent in the following ways:

    a)      In failing to properly bond the tread of the tire to the casing;

    b)      In failing to check the bond between the tread of the tire and its casing;

    c)      In failing to implement quality control measures to ensure that the tire was

    properly manufactured;

    d)      In placing a defective tire into the stream of commerce; and

    e)      Such other acts and omissions as may be learned of during discovery.
  1:22-cv-03216-SAL         Date Filed 09/21/22       Entry Number 1-1        Page 6 of 8




                                                                                                       ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
23.     The foregoing acts and omissions by Love’s were the direct and proximate cause of

        Plaintiffs’ injuries, resulting in Mr. Stevons’ conscious pain and suffering and TEC’s

        property damage.

24.     As a direct and proximate result of Love’s negligence, Mr. Stevons has sustained

        injuries which have required medical treatment and related expenses. Plaintiff has also

        been unable to work and has lost wages.

25.     Wherefore, Plaintiffs are informed and believe that they are entitled to judgment against

        the Defendant for actual damages and punitive damages as may be set by jury.

                            FOR A SECOND CAUSE OF ACTION
                                    (Products Liability)

26.     All preceding allegations are realleged as if fully repeated verbatim herein.

27.     As stated herein, the tire manufactured and sold by Love’s to TEC’s had an

unreasonably dangerous defect.

28.     At the time the tire failed, it was being used in exactly the way that it was intended to be

used.

29.     The tire which failed had not been substantially changed from its original condition

when sold by Love’s.

30.     As a direct and proximate result of the unreasonably dangerous defect in the tire,

Dareus Stevons and TEC’s sustained bodily injuries and property damage, respectively.

31.     Wherefore, Plaintiffs are informed and believe that they are entitled to a judgment

against the Defendant for actual damages and punitive damages as may be set by jury.

                             FOR A THIRD CAUSE OF ACTION
                                   (Breach of Warranty)

32.     All preceding allegations are realleged as if fully repeated verbatim herein.
  1:22-cv-03216-SAL         Date Filed 09/21/22       Entry Number 1-1      Page 7 of 8




                                                                                                     ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
33.    At the time of sale, Love’s made certain express warranties concerning how the tire

would function.

34.    By virtue of selling the product in the stream of commerce, Love’s made implied

warranties that the tire would be of good and workmanlike quality and that it would be fit for its

intended purpose.

35.    Love’s breached these warranties by manufacturing and selling a tire which was subject

to failure due to an improper bond between the tread and the casing.

36.    As a direct and proximate result of this breach of warranty, Dareus Stevons and TEC’s

sustained bodily injuries and property damage, respectively.

37.    Wherefore, Plaintiffs are informed and believe that they are entitled to a judgment

against the Defendant for actual damages and punitive damages as may be set by jury.


WHEREFORE, Plaintiffs pray for the following:

       a) A trial by jury as to all issues of fact;

       b) A judgment against Love’s for Dareus Stevons’ actual damages and punitive

           damages;

       c) A judgment against Love’s for TEC’s actual damages and punitive damages;

       d) The costs of this action; and

       e) For such other relief as the Court deems proper.

                                                      THE BOSTIC LAW GROUP, P.A.

                                                      ___/s Christopher M. Ramsey_________
                                                      Christopher M. Ramsey
                                                      2236 Ashley Crossing Drive
                                                      Charleston, SC 29414
                                                      (843) 571-2525
                                                      Fax: (843) 571-7050
                                                      cramsey@bosticlaw.com
  1:22-cv-03216-SAL          Date Filed 09/21/22   Entry Number 1-1       Page 8 of 8




                                                                                        ELECTRONICALLY FILED - 2022 May 22 11:24 PM - AIKEN - COMMON PLEAS - CASE#2022CP0201184
                                                   Attorneys for Plaintiffs
May 22, 2022

Charleston, South Carolina
